Case 1:25-cv-10495-IT   Document 2-1   Filed 02/28/25   Page 1 of 3




          EXHIBIT A
           Case 1:25-cv-10495-IT            Document 2-1   Filed 02/28/25   Page 2 of 3



                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

SVITLANA DOE; MAKSYM DOE; MARIA DOE;
ALEJANDRO DOE; ARMANDO DOE; ANA DOE;
CARLOS DOE; OMAR DOE; SANDRA MCANANY;
KYLE VARNER; WILHEN PIERRE VICTOR; and
HAITIAN BRIDGE ALLIANCE

                              Plaintiffs,

               – versus –                                       Civil Action No:

KRISTI NOEM, in her official capacity as Secretary of
Homeland Security; CALEB VITELLO, in his official
capacity as the Acting Director of Immigration and
Customs Enforcement; PETE R. FLORES, in his official
capacity as Acting Commissioner of U.S. Customs and
Border Protection; KIKA SCOTT, in her official capacity
as the Senior Official Performing the Duties of the
Director of U.S. Citizenship and Immigration Services;
and DONALD J. TRUMP, in his official capacity as
President of the United States.

                                  Defendants.


                  CERTIFICATE OF ESTHER H. SUNG IN SUPPORT OF MOTION
                    FOR LEAVE TO APPEAR AND PRACTICE PRO HAC VICE

I, Esther H. Sung, hereby certify as follows:

        1.      I am an attorney of Justice Action Center, P.O. Box 27280, Los Angeles, CA 90027.

        2.      I represent the plaintiffs Svitlana Doe, Maksym Doe, Maria Doe, Alejandro Doe,

Armando Doe, Ana Doe, Carlos Doe, Omar Doe, Sandra McAnany, Kyle Varner, Wilhen Pierre

Victor, and Haitian Bridge Alliance in the above-captioned matter and have intimate knowledge

of the subject matter of the instant suit.

        3.      I graduated from the University of Texas School of Law with a Juris Doctor degree

in 2007.
        Case 1:25-cv-10495-IT         Document 2-1        Filed 02/28/25         Page 3 of 3



       4.      I am admitted to practice and remain a member in good standing of the bar of

California (CA 255962) and the following federal courts:

               •   U.S. District Court for the District of Columbia

               •   U.S. District Court for the Central District of California

               •   U.S. District Court for the Northern District of California

               •   Fourth Circuit Court of Appeals

               •   Fifth Circuit Court of Appeals

               •   Ninth Circuit Court of Appeals

       5.      I am not the subject of disciplinary proceedings pending in any jurisdiction in which

I am a member of the bar.

       6.      I have not previously had a pro hac vice admission to this Court revoked for

misconduct.

       7.      I have read and agree to comply with the Local Rules of the United Stated District

Court for the District of Massachusetts.

                                              Signed this 28th day of February, 2025

                                                /s/ Esther H. Sung
                                              Esther H. Sung
